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 6                               UNITED STATES DISTRICT COURT

 7                                       DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                          )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10           v.                                         )           2:11-CR-048-JCM (CWH)
                                                        )
11   DANYA MAYCOTTE,                                    )
                                                        )
12                          Defendant.                  )

13                                       ORDER OF FORFEITURE

14          On December 7, 2011, defendant DANYA MAYCOTTE pled guilty to Count One of a Six-

15   Count Criminal Indictment charging her in Count One with Conspiracy to Distribute More than 50

16   grams of Methamphetamine in violation of Title 21, United States Code, Sections 841(a)(1) and 846.

17   Docket #1, #132, #133.

18          On December 13, 2011, this Court entered a Preliminary Order of Forfeiture, ordering the

19   forfeiture of $44,400.00 in United States Currency. #136. The Preliminary Order of Forfeiture

20   entered on December 13, 2011 (#136) is hereby vacated.

21          This Court finds that DANYA MAYCOTTE shall pay a criminal forfeiture money judgment

22   of $44,400.00 in United States Currency to the United States of America, pursuant to Fed. R. Crim.

23   P. 32.2(b)(1) and (2); Title 21, United States Code, Sections 841(a)(1) and 846; and Title 21, United

24   States Code, Section 853(p).

25   ...

26   ...
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 1        THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

 2   States recover from DANYA MAYCOTTE a criminal forfeiture money judgment in the amount of

 3   $44,400.00 in United States Currency.

 4              February
          DATED this ______3,day
                              2012.
                                 of __________________, 2012.

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                                              UNITED STATES DISTRICT JUDGE
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